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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                                        Civil Action No. 18-11273 (MCA)(LDW)
   OCCIDENTAL CHEMICAL
   CORPORATION,
                                                          DECISION OF SPECIAL MASTER
                          Plaintiff,                      DENYING THE MOTION FOR A
                                                         STAY OF PROCEEDINGS AND FOR
          v.                                                LEAVE TO FILE SAME BY
                                                                DEFENDANTS AND
   21ST CENTURY FOX AMERICA, INC., et                      THIRD-PARTY DEFENDANTS
   al.,

                          Defendants.


                                          INTRODUCTION

          This matter comes by way of a Motion for a Stay of Proceeding and Leave to File Same,

   filed by members of the Small Parties Group (“SPG”), the Gordon Rees Group, the CSG Group,

   and members of the PVSC Liaison Group (“PVSC Group”) and the Peter King Liaison Group

   (together, “Third-Party Defendants”), (collectively, “Moving Parties”), on January 14, 2022,

   seeking an order granting leave to file a motion for a stay, and approving a stay of proceedings

   (ECF No. 1943) (the “Motion”). The Motion was directed to the Honorable Madeline Cox Arleo,

   U.S.D.J. and filed under the judicial preferences of the Honorable Leda Dunn Wettre, U.S.M.J. 1

   After consultation with the Court, it was determined that the Special Master will decide the Motion.

          The Moving Parties seek a six-month stay of this matter to allow most of the Moving

   Parties to continue and possibly conclude settlement negotiations with the United States

   Environmental Protection Agency (“EPA”). Plaintiff, Occidental Chemical Corporation



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     As of January 19, 2022, Judge Wettre’s Judicial Preferences provide that “[f]ormal motions, other
   than motions filed in lieu of an Answer under Federal Rule of Civil Procedure 12 and motions
   seeking remand that must be filed within thirty days of removal under 28 U.S.C. § 1447(c): [s]hall
   not be filed without prior leave from this Court.”
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   (“OxyChem”), opposes the Motion, contending that, inter alia, a stay of proceedings is not

   warranted. For the reasons set forth herein, the Motion is denied.

           STATEMENT OF PERTINENT FACTS AND PROCEDURAL HISTORY

   A.     The EPA Invites PRPs to Participate in Allocation Process

          In 2017, the EPA invited the parties it had identified as potentially responsible parties

   (“PRPs”), including OxyChem, to participate in an allocation (the “Allocation”) of responsibility

   regarding response costs for the lower eight miles of the Lower Passaic River, referred to by the

   EPA as Operable Unit 2 (“OU2”) of the Diamond Alkali Superfund Site. The EPA hired a third-

   party allocator, AlterEcho (the “Allocator”), who was tasked with collecting evidence on a

   confidential basis and providing a recommendation based on an EPA-approved methodology

   regarding the equitable allocation of responsibility. The Allocator was also tasked with the

   preparation of a final allocation report, which is currently being used as a basis for the EPA’s

   settlement negotiations with those parties who opted to participate in the Allocation. According

   to the Moving Parties, the negotiations are with many of the Moving Parties in this litigation.

          OxyChem and nine other PRPs declined the EPA’s invitation to participate in the

   Allocation. On June 30, 2018, OxyChem filed suit against Defendants pursuant to Sections 107

   and 113 of the Comprehensive Environmental Response, Compensation, and Liability Act of 1980,

   42 U.S.C. §§ 9607 and 9613 (“CERCLA”) for contribution and recovery of response costs in

   response to releases and threatened releases of hazardous substances in the Passaic River (ECF

   No. 1). At the time OxyChem commenced suit, the Allocation was underway.




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   B.     Status of Settlement Negotiations

          According to the Moving Parties, many parties to this litigation have settled in principle

   with EPA. While the specific details of the settlement negotiations remain confidential, a

   significant number of those parties and the EPA are working to finalize a term sheet and are in

   advanced stages of discussions over the specific terms of a “cash-out” settlement for response

   costs, or “in-kind” contributions, associated with the entire 17-mile stretch of the Lower Passaic

   River Study Area (the “LPRSA”)—OU2 and Operable Unit 4 (“OU4”). OU4 includes the 17-mile

   Lower Passaic River Study Area.

          According to the Moving Parties, the scope of settlement under discussion would address

   all of the claims OxyChem asserted in this litigation against the settling parties, which relate to

   response costs incurred in OU2 and OU4. The Moving Parties report that they have been given

   indications from the EPA that any settlement would take the form of a consent decree submitted

   for approval to the Court. Upon entry, settling parties would file a dispositive motion in this case

   on the basis of contribution protection for matters addressed in the consent decree.

   C.     Moving Parties’ Motion Seeking A Stay

          On January 14, 2022, the Moving Parties filed the Motion. In support of the Motion, the

   Moving Parties contend that a stay of this litigation is appropriate to permit certain Moving Parties

   to complete settlement discussions with the EPA, and avoid being unencumbered by the time and

   costs of litigation and discovery that would later be obviated by a settlement. By way of support,

   the Moving Parties assert that it is well recognized that Congress sought to encourage PRPs to

   settle with the government rather than engage in protracted litigation to evade responsibility for

   response costs, which is reflected throughout CERCLA.

          The Moving Parties further argue that a stay is warranted to allow the settlement process



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   to play out as Congress intended, to avoid duplication of an allocation already carried out by the

   EPA, to avoid unnecessary costs to the Moving Parties, to limit the scope and expense of the

   litigation and conserve judicial resources by potentially eliminating most of the Moving Parties.

   D.     OxyChem’s Opposition to the Motion

          On January 21, 2022, OxyChem filed opposition to the Motion (ECF No. 1953). OxyChem

   contends that because the Moving Parties were unsuccessful in delaying depositions, they are now

   trying to circumvent the Special Master’s authority to manage discovery by urging the Court to

   stay not just their own depositions, but all proceedings. Moreover, OxyChem argues that the

   Moving Parties’ hope to be able to settle their liability to the EPA, which is a non-party, at some

   point in the future, is not grounds to stay this matter given the length of time the case has been

   pending and the upcoming depositions. Finally, OxyChem argues that granting the Motion will

   cause it severe prejudice.

   E.     The Moving Parties’ Response to OxyChem’s Opposition

          On January 31, 2022, the Moving Parties filed a letter reply to OxyChem’s opposition (ECF

   No. 1962). The Moving Parties reiterate that leave should be granted because a stay is necessary

   to complete a settlement with the EPA. The Moving Parties note that CERCLA’s core goal is to

   clean up polluted sites, such as the Lower Passaic River.         The Allocation and settlement

   discussions are the next step in achieving that goal.

          The Moving Parties also disagree with OxyChem’s characterization of the Motion.

   According to the Moving Parties, the Motion is not a delay tactic, but rather a response to

   accelerating commitments to fund the cleanup of the Lower Passaic River. The Moving Parties

   further argue that OxyChem ignores the significant impact that settlement with the EPA would

   have on this action, including OxyChem’s claims. Finally, the Moving Parties state that the scope



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   of the Special Master’s role is limited to discovery scheduling, discovery disputes, and conducting

   settlement conferences. As such, the Moving Parties argue that, while the Special Master’s

   authority within that scope is coextensive with that of a Magistrate Judge, the Special Master was

   not tasked with all of the roles of the Magistrate Judge. Thus, according to the Moving Parties,

   the Motion may not be decided by the Special Master.

   F.     Liaison Counsel for the SPG Provides Subsequent Report on Settlement Negotiations

          On February 4, 2022, liaison counsel for the SPG informed the Court and the Special

   Master that a significant number of the Moving Parties (with no specificity as to identity or

   number) reached an agreement in principle with the EPA (ECF No. 1981). As a result, the Moving

   Parties assert that because entry of this settlement should effectively end this litigation for all

   parties, the Motion should be granted to allow the parties to complete the settlement agreement.

          On February 11, 2022, liaison counsel for the SPG again requested that, in light of

   settlement negotiations, the Special Master should pause all proceedings until the Motion is

   decided (ECF No. 1982).

          On February 14, 2022, OxyChem filed a letter in response to liaison counsel’s request for

   the Special Master to stay all proceedings (ECF No. 1983). In short, OxyChem contended that

   because the United States does not “own” OxyChem’s claims, any settlement reached between the

   United States and any of the Moving Parties does not trigger an automatic stay of proceedings.

   OxyChem also asserts that a stay should not be granted because depositions should move forward

   as scheduled. Finally, OxyChem argues that the proposed settlements will not relieve the Moving

   Parties of their obligation to OxyChem for costs it incurred to clean up the Moving Parties’

   pollution of the Lower Passaic River.




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   G.      The February Conference

           On February 16, 2022, the Special Master held a status conference with the parties (the

   “February Conference”). At the February Conference, the Special Master reported that, after

   discussions with the Court, the Special Master will be deciding the Motion. No party placed an

   objection on the record regarding the Special Master deciding the Motion.

   H.      Supplemental Party Submissions

           On February 17, 2022, the SPG filed a letter requesting that all parties be permitted to

   submit a supplemental letter addressing the Motion, limited to no more than two pages, by

   Tuesday, February 22, 2022 (ECF No. 1991). On February 18, 2022, the Special Master granted

   the request.

           OxyChem’s supplemental submission (ECF No. 1993) raises several additional arguments.

   First, OxyChem asserts that the purported “agreement in principle” between certain Moving

   Parties and the EPA has no impact on the pending litigation. Second, OxyChem argues that the

   risk of discovery to the Moving Parties is essentially an empty platitude because uncovering the

   truth is not a risk of discovery, rather it is the purpose of discovery.

           The supplemental submission by the SPG, CSG, and GRG provided an update on their

   member’s agreements in principle with the EPA. According to liaison counsel, certain parties are

   now in the process of formalizing the agreement into a “cash out” consent decree (“CD”). The

   expectation is that the CD(s) will be finalized within four (4) to six (6) months, during which time

   liaison counsel can provide monthly reports to the Special Master. The SPG, CSG, and GRG also

   assert that OxyChem will not be prejudiced if a stay is granted because it can object to the CD, as

   well as request any relief it deems appropriate after lodging the same.

           The Third-Party Defendants filed its supplemental submission (ECF No. 1995) asserting



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   that, unlike the primary defendants, the Third-Party Defendants, who were joined in the suit by

   way of third-party complaint (ECF No. 1170) on February 24, 2021, will be prejudiced if a stay is

   not granted because they have not had the opportunity to review all the discovery that has already

   been exchanged, and as public entities, they have limited financial resources.2

           On February 24, 2022, liaison counsel for the SPG submitted an e-mail, without leave,

   from Brian Donahue of the DOJ (the “DOJ Email”), as a supplement to the Motion. The DOJ

   Email confirms that: (i) certain defendants have reached an “agreement in principle[;]” (ii) DOJ is

   presently drafting a proposed CD, and hopes to send the same in the “coming weeks[;]” and that

   (iii) the terms of the final settlement agreement and final CD “are subject to review and approval

   by” the EPA and DOJ.

           Finally and also without leave, on March 2, 2022, liaison counsel for the PVSC Group

   submitted a letter from the EPA as a supplement to the Motion. The EPA’s letter identified

   OxyChem, Pharmacia, LLC, Nokia of America Corporation, PMC, Inc., Public Service Electric &

   Gas Company, and several Third-Party Defendants, as PRPs liable under CERCLA for releases or

   threatened releases of hazardous substances into the LPRSA. The letter “encourages” those

   entities identified in the letter to “voluntary finance and perform the remedies selected” for OU2

   and OU4. While the letter confirms that certain Moving Parties have been considered for a cash

   out settlement, the letter does not state that a settlement is already in place. Indeed, the letter asks

   that those entities identified submit, within forty-five (45) days, a “good faith offer” if interested

   in a cash out settlement.


   2 The New Jersey Office of the Attorney General, on behalf of non-party New Jersey Department
   of Environmental Protection (“DEP”), submitted a letter on March 7, 2022, requesting that the
   Special Master accept the position of the Third-Party Defendants regarding a stay of the litigation
   (“March 7 Letter”). According to the March 7 Letter, DEP has an interest in ensuring the public
   entities have their litigation costs kept to a minimum in order to have more funds available to
   contribute toward remediation.
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                                          LEGAL STANDARD

           Coined by the Third Circuit of Appeals as “an extraordinary measure[,]” a stay is

   determined at the discretion of the Court. United States v. Breyer, 41 F.3d 884, 893 (3d Cir. 1994).

   Courts “must weigh competing interests and strive to maintain an even balance . . . mindful that

   the stay of a civil proceeding constitutes an extraordinary remedy.” Akishev v. Kapustin, 23 F.

   Supp. 3d 440, 445 (D.N.J. 2014) (citations and internal quotations omitted).

           It “is well-established that the power to stay proceedings is incidental to the power inherent

   in every court to control the disposition of the causes on its docket with economy of time and effort

   for itself, for counsel, and for litigations.” Power Survey, LLC v. Premier Util. Servs., LLC, 124

   F. Supp. 3d 338, 339 (D.N.J. 2015) (citations and internal quotations omitted). District courts

   “enjoy wide discretion in determining whether a stay is appropriate, and absent a patent abuse of

   that discretion, a court’s decision of whether to stay a case will seldom be disturbed.” United States

   v. $1,879,991.64 Previously Contained in Sberbank of Russia’s Interbank, 185 F. Supp. 3d 493,

   500 (D.N.J. 2016) (citations and internal quotations omitted). Indeed, courts “have [the] inherent

   power to manage their dockets and stay proceedings[.]” Power Survey, LLC, 124 F. Supp. 3d at

   339 (citation omitted). In determining whether a stay is appropriate, courts generally apply a three-

   part test:

                   1. Whether a stay would unduly prejudice or present clear tactical
                      disadvantage to the nonmoving party;
                   2. Whether a stay will simplify the issues in question and trial of
                      the case; and
                   3. Whether discovery is complete and whether a trial date has been
                      set.

                   [Id. at 339.]

           Courts in this District also consider a number of other facts, including: (1) “the length of

   the stay; (2) the balance of harm to the parties; (3) the interests of the public; and (4) the interests
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   of judicial economy.” $1,879,991.64 Previously Contained in Sberbank of Russia’s Interbank, 185

   F. Supp. 3d at 500 (citations omitted).

                                              ANALYSIS

   A.     The Special Master’s Authority to Decide the Motion

          The Order Appointing Special Master authorized the Special Master to oversee the

   schedule for completion of discovery and all discovery disputes and motions related thereto (ECF

   No. 646) (the “Order”). The Order grants the Special Master with authority “coextensive with

   those of a Magistrate Judge in the District of New Jersey pursuant to Local Civil Rule 72.1[.]”

          Pursuant to Local Rule 72.1(a)(1)-(2) and 28 U.S.C. § 636(b)(1)(A)-(C), the Special Master

   may conduct hearings, including evidentiary hearings and submit proposed findings of fact and

   recommendations regarding any motion, except for the following: (i) motion for injunctive relief;

   (ii) motion for judgment on the pleadings; (iii) summary judgment motion; (iv) motion to dismiss

   or to permit the maintenance of a class action; (v) motion to dismiss for failure to state a claim

   upon which relief may be granted; (vi) motion to involuntarily dismiss an action; (vii) motion for

   judicial review of administrative determinations; (viii) motion for review of default judgments;

   and (ix) motions for review of prisoners’ petitions challenging conditions of confinement, and

   other criminal matters. This is in line with Third Circuit precedent. In re Hill, 795 Fed. Appx. 146,

   148 n.1 (3d Cir. 2020) (noting Magistrate Judge is authorized to rule on non-dispositive motions

   subject to District Court’s review under § 636(b)(1)(A)); see also In re United States Healthcare,

   159 F.3d 142, 145 (3d Cir. 1998) (“[A] magistrate judge, without the consent of the parties, has

   the power to enter orders which do not dispose of the case.”)

          Based on a review of the pertinent case law and the Order, the Special Master has authority

   to decide the Motion. Indeed, Magistrate Judges in this District and in the Third Circuit routinely



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    decide motions to stay. Maximum Human Performance, Inc. v. Dymatize Enters., 2009 U.S. Dist.

    LEXIS 76994 (D.N.J. Aug. 27, 2009) (denying plaintiff’s motion to stay); see also Vanderwerff v.

    Quincy Bioscience Holding Co., 2018 U.S. Dist. LEXIS 201912 (D.N.J. Nov. 28, 2018) (affirming

    Magistrate Judge’s Order denying Defendants’ motion to stay discovery); Anglin v. Anglin, 2020

    U.S. Dist. LEXIS 112998 (D.N.J. Jun. 29, 2020) (affirming Magistrate Judge’s order denying

    motion to stay); Giuffre v. N. Am. Spine, LLC, 2017 U.S. Dist. LEXIS 30083 (D.N.J. Mar. 3, 2017)

    (holding by Magistrate Judge granting motion to stay); Touton, S.A. v. M.V. Rizcun Trader, 30 F.

    Supp. 2d 508, 510 (E.D. Pa. 1998) (noting that “neither the grant of the stay of proceedings pending

    arbitration, nor the lift of said stay, constituted injunctive relief in excess of the Magistrate Judge’s

    authority under § 636(b)(1)(A).”) (internal quotations omitted).

            Therefore, given the authority of the Special Master pursuant to the Order and after

    consultation with the Court, the Special Master has the authority to rule on the Motion.

    B.      The Moving Parties’ Request to Stay of Proceedings

            The Moving Parties have the burden to demonstrate that the circumstances justify a stay of

    the proceedings. According to the Moving Parties, the purported settlements with the EPA in

    potentially 4 to 6 months are favorable and impactful to this case because under CERCLA, a

    parties’ settlement with the EPA will confer on the settling parties “contribution protection[,]”

    which provides a statutory defense against private party CERCLA claims, including this action. 3

    When taking into account all factors for consideration of a motion to stay, the Moving Parties have

    failed to meet their burden of “showing that the circumstances justify an exercise of the Court’s

    discretion to issue a stay.” Kapustin, 23 F. Supp. 3d at 445 (citations and internal quotations


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     Whether Defendants should be granted “contribution protection” from OxyChem’s claims is not
    presently before the Special Master. Nor is OxyChem’s contention that its claims against
    Defendants will proceed even if Defendants settle with the EPA.

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    omitted).

                 i.   Prejudice to OxyChem

           It is clear that OxyChem will be unduly prejudiced if a stay is granted. The Moving Parties

    assert that no prejudice will befall OxyChem because it can simply object to any CD and request

    any relief it deems appropriate. According to OxyChem, twenty-six (26) depositions of defendants

    and their consultants are scheduled over the next four months. If a stay were granted, none of

    those depositions would go forward, and all efforts for OxyChem to obtain relief under CERCLA

    will be halted.

           If a stay were granted, this four-year old litigation would be further delayed and OxyChem

    would be precluded from pursuing its claims. Also, the passage of time will create further

    complicate issues such as availability of witnesses. Further, the parties are on the precipice of

    depositions. If the stay were granted, depositions would not realistically commence until 2023,

    OxyChem argues that if a stay were granted, it would be prejudiced because it would be unable to

    obtain further discovery to support its claims, strengthen its defenses, or engage in settlement

    discussions with Defendants or anyone else.

                ii.   Simplification of Issues

           Next, the potential for simplification of the issues is uncertain because there is no guarantee

    that any of the Moving Parties and the EPA will finalize the CD, present the same to the Court, or

    that the CD will ultimately be approved. See Cammie’s Spectacular Salon v. Mid-Century Ins.

    Co., 2022 U.S. Dist. LEXIS 28741, *4 (D.N.J. Feb. 17, 2022) (noting that “the potential for

    simplification of the issues is uncertain[,]” in determining whether a stay is appropriate) (citations

    omitted). There is also no guarantee that defendant parties not originally identified by the EPA as

    PRPs, will settle their liability through a similar settlement process.        Assuming individual



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    defendants do settle, OxyChem will remain entitled to pursue its claims against those non-settling

    parties and seek discovery, in some form, from settling parties. The Special Master cannot order

    OxyChem to pause the pursuit of its claims against all Moving Parties because some parties may

    finalize settlements with the EPA. Such a directive is based on too much speculation and

    assumption.

           Although settlements are a favored remedy both with the government and with private

    parties, see United States v. Kramer, 770 F. Supp. 954, 961 (D.N.J. 1991) (“by saving the litigation

    costs associated with formal discovery, all of the defendants out to have more money available to

    pay as part of a negotiated settlement”), the Moving Parties’ suggestion that a stay is required to

    finalize such settlements is neither a basis for granting the Motion, nor necessary for any of the

    Moving Parties to finalize settlement negotiations. Just like OxyChem, the Moving Parties are

    free to discuss settlement with any party or non-party, such as the EPA.

            iii.   Hardship to the Moving Parties

           The Moving Parties assert that every day that this litigation continues costs the parties’

    time, attention, and resources that might otherwise be marshalled to bring about a resolution and

    fund the cleanup. They argue that requiring the Moving Parties to continue to litigate these claims

    in the face of potential settlement constitutes a hardship. Simply put, the hardship raised by the

    Moving Parties is the continuing with litigation that they have been defending (in which they have

    asserted counterclaims and third-party complaints). Courts in this District have held that the

    “routine costs of litigation, without more, do not constitute a particular hardship” or inequity,

    warranting a stay of proceedings. Mid-Century Ins. Co., 2022 U.S. Dist. LEXIS 28741, at *3-4

    (citations omitted). The same is true here.

           CERCLA permits civil claims, like OxyChem’s here, to be made against other private



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    parties. Costs associated with such claims are not unreasonable or unpredictable, but rather part

    and parcel of CERCLA. The Moving Parties argue that unless the Special Master grants the

    Motion, the Moving Parties will be forced to expend costs litigating this matter and negotiating

    with the EPA. The Special Master does not find the Moving Parties’ “cost of litigation” argument

    persuasive. Under the Moving Parties theory, any prospective settlement would be a basis to stay

    a case in order to avoid costs of litigation; such theory has no basis in law or precedent.

           In addition, the Moving Parties cite to several unpublished cases, and cases outside this

    District as support for their contention that settlement negotiations with the EPA merit that a stay

    of proceedings be granted. More specifically, the Moving Parties cite to a case in the District of

    Oregon, which stayed a civil claim brought pursuant to CERCLA. Confederated Tribes & Bands

    of Yakama Nation v. Airgas USA, LLC, 435 F. Supp. 3d 1103 (D. Or. 2019). In addition to the

    case being non-binding, the case is factually distinguishable.

           In that case, there were two motions to stay filed—one by NW Natural, City of Portland,

    and Port of Portland—and a second by the United States. Airgas USA, LLC, 435 F. Supp. 3d at

    1126-27. Here, unlike Airgas USA, LLC, the United States has not joined in the Motion, or filed

    a separate motion for a stay of proceedings in light of settlement negotiations with Defendants.

    Indeed, neither the EPA nor DOJ have made any individual submissions related to this Motion

    despite the Special Master welcoming such submissions during the February Conference.

           The DOJ Email, which is limited to the ongoing settlement negotiations, also does not

    support a stay. To be sure, the DOJ Email only confirms that an “agreement in principle” has been

    reached between the EPA and some defendants, but does not provide a date certain for when

    settlements and a proposed CD will be finalized. The DOJ Email confirms that the final settlement

    terms and CD remain “subject to review and approval by” the EPA and DOJ. These steps are prior



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    to the submission of the proposed documents to the Court and the filing of a dispositive motion,

    which will certainly require additional time.

            Further, as noted by the Court in Airgas USA, LLC, opposing defendants “do not appear to

    dispute that the Court should ultimately enter a stay; the only dispute is when that stay should be

    entered.” Id. at 1127 (citations and internal quotations omitted). Here, OxyChem has not once

    conceded that a stay is merited. In fact, OxyChem has maintained its position that a stay is not

    appropriate since first being presented with the suggestion by liaison counsel at a meet-and-confer

    held in December 2021. Finally, the Court in Airgas USA, LLC granted a stay in a separate civil

    claim involving many of the same parties, but not the plaintiff, who was not a party in the other

    case. Id. at 1126-27. Unlike in that case, a stay has not been granted by the Court in a separate

    action that bears upon this matter.

             iv.    Length of the Stay

            The length of the stay requested by the Moving Parties is concerning. Third Circuit courts

    have found that excessive or indefinite delays undermine motions for stay. See Gold v. Johns-

    Manville Sales Corp., 723 F.2d 1068, 1075-76 (3d Cir. 1983) (“[T]he clear damage to the plaintiffs

    is the hardship of being forced to wait for an indefinite and . . . lengthy time before their causes

    are heard.”); see also Premier Util. Servs., 124 F. Supp. 3d at 339 (“[T]here is no evidence . . . that

    Defendants engaged in any delay tactic in seeking inter partes review[,] [and] . . . nor have any

    dispositive motions been filed.”).

            While there is no bright line as to the reasonableness of the length of the potential stay,

    courts in this District have noted that thirty (30) days is “not substantial” in the context of a motion

    to stay. See $1,879,991.64 Previously Contained in Sberbank of Russia’s Interbank, 185 F. Supp.

    3d at 501. The Moving Parties are not seeking anything close to 30 days. Rather, the Moving



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    Parties have requested six months and have stated it will take anywhere between four to six months

    for the CD to be finalized and then presented to the Court for approval. Therefore, considering the

    time for a dispositive motion to be decided, such a stay will certainly exceed the projected six

    months requested. The length of stay requested is excessive given the posture of the lawsuit and

    years of involvement in the Allocation and discussions with the EPA.

                 v.   Other Considerations

            Further, this is not a case where a government agency is issuing a decision in a parallel

    matter that will impact this case. See Alcon Labs., Inc. v. Akorn, Inc., 2016 U.S. Dist. LEXIS 2182

    (D.N.J. Jan. 8, 2016) (granting a stay after the matter was selected for inter partes review by the

    Patent Trial and Appeals Board). Here, Moving Parties are free to engage the EPA on settlement,

    which remain months away from finalizing. However, even if the EPA agreed to settle with all

    Moving Parties, this would not cause a stay of this matter. The Moving Parties have already stated

    that after the conclusion of settlement negotiations, a CD will be drafted and submitted to the Court

    for approval. A dispositive motion will then follow. There is no question that this can take place

    while proceedings in this matter continue. To be sure, neither the EPA nor the DOJ have made

    any submissions stating that the Special Master is required to impose a stay in order to finalize

    settlement. Indeed, the EPA and DOJ communications submitted by liaison counsel do not change

    this fact.

            Next, the Moving Parties argue that if the Motion is granted, this “would not be the first

    CERCLA case in which OxyChem has been involved that was stayed to facilitate settlement.”

    The difference, however, is that OxyChem opposes a stay here.

            As reflected in a January 13, 2022, letter from DOJ to liaison counsel for the SPG (ECF

    No. 1943-4), OxyChem was not the only party that declined the EPA’s invitation to participate in



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    the Allocation. Nine other PRPs declined as well. According to OxyChem, it declined to

    participate because the Allocation “was unfair, rested on an incomplete record, could be too easily

    manipulated by parties that stood to benefit from information deficit, and was unauthorized by

    CERCLA.” As such, OxyChem should not be forced to pause its pursuit of its claims while

    participating parties negotiate with the EPA for six months.

            Put simply, the Moving Parties are asking the Special Master to stay the proceedings so

    that the Moving Parties may explore all available options afforded to them, namely settlements,

    and have OxyChem sit and wait until a resolution, if any, is reached. Should the vast majority of

    settlements not be finalized and approved, more than six months of time would be wasted.

    Moreover, there is no certainty that if most settlements are finalized, this case will be rendered

    moot. Rather, it is likely to proceed, in some form, even after the settlements. This fact is not in

    accord with the standard for granting a stay, nor does it serve the interests of all parties. The better

    option is to allow the Moving Parties to continue to engage in settlement negotiations, allow

    OxyChem and the Moving Parties to carry on with discovery, and should any of the Moving Parties

    settle, they can move to be dismissed from this case and OxyChem will be given an opportunity

    to oppose such application 4.

            The Special Master, however, is cognizant of the unique concerns of Third-Party

    Defendants, including the high costs of defending claims brought by Defendants, the potential cost

    savings if permitted to marshal their efforts towards finalizing EPA settlements, and that Third-

    Party Defendants were only joined in this case approximately one (1) year ago. As a result, the

    Special Master will provide relief that is reasonable and appropriate given the circumstances.



    4
      The Special Master makes no findings or rulings as to whether a settling party will be able to
    prevail on a motion to be dismissed from the case if they settle with the EPA. Such determinations
    are left to the District Court on a complete record.
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           Indeed, while this matter was initiated by OxyChem in 2018, Third-Party Defendants

    require more time to prepare for depositions, review paper and electronic discovery, and prepare

    their defenses. Therefore, to provide all parties with more time to prepare for depositions and

    allow parties to continue in their parallel settlement negotiations with the EPA, all pending

    depositions will be rescheduled, with the first deposition taking place no earlier than May 1, 2022.

    Thus, the parties are hereby directed to meet-and-confer within 30 days to finalize a proposed

    deposition schedule.

                                             CONCLUSION

           The Moving Parties’ motion for a stay of proceedings and for leave to file same is hereby

    DENIED based on the reasons set forth herein. The parties are hereby instructed to coordinate

    the scheduling of depositions, with the first deposition taking place no earlier than May 1, 2022.



                                                         /s/ Thomas P. Scrivo
                                                         THOMAS P. SCRIVO
                                                         Special Master




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